 

 

Case 1:06-cv-00476-JBS-JBR Document 30 Filed 08/01/06 Page 1 of 1 PagelD: 406

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
OFFICE OF THE CLERK CAMDEN OFFICE
MARTIN LUTHER KING JR. FEDERAL BLIK: & U8. COURTHOUSE MITCHELL H. COHEN 1/6 COURTIIOUSE
alt WALNUT STRERT, FO. BOX 419 UNE JOHN F. GRRRY PLAZA
NEWARK, NEW JERSEY 07101 KQUATH & COHWOPER §T8., ROOM 1050
CAMDEN, Mu 0sb0i
August 1, 2006
WILLIAM T. WALSH
CLERK TRENTON OFFICE

402 EAST STATE STREERT
ROOM 301
TRENTON, 0 U6 Ins

REPLY TO: CAMDEN

New Jersey Superior Court
Atlantic County

1201 Bacharach Blvd.
Atlantic City, NJ 08401

RE: Giordano v. Wachovia Securities, LLC, et al
Our Civil Number: 06cv476(7BS)
Your Civil Number: 05-8152-L

Dear Sir or Madam:

Pursuant to the Order of Remand entered in the above entitled
matter by this Court, please find encloged one (1) certified copy
of the docket entries and one (1) certified copy of the Remand
order.

Vary truly yours,

WILLIAM T. WALSH
CLERE

By: Susan Bush
Deputy Clerk

cc: file
